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Exhibit H
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO.: 8:15-cv-00192-EAK-AEP
AMERICAN GENERAL LIFE INSURANCE COMPANY,
Plaintiff,
vs.
KEVIN H. BECHTEL and LIFE BROKERAGE PARTNERS, LLC,
Defendants.
DEPOSITION OF: JALEN VICTOR LOHMAN
TAKEN BY: RICHARD C. MILLIAN, ESQUIRE
TAKEN: December 17, 2015
TIME : . 9:00 a.m. - 11:23 a.m.
PLACE: Verbatim Professional Reporters
2202 N. Westshore Boulevard
Suite 200
Tampa, FL 33607
REPORTED BY: CHARLENE M. EANNEL, RPR
Court Reporter, Notary Public
PAGES 1 - 104
‘VERBATIM PROFESSIONAL REPORTERS, INC.
601 CLEVELAND STREET, SUITE 380
CLEARWATER, FL 33755
(727) 442-7288

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1 BY MR. MILLIAN:

2 Q. Will American General do business with an agent
3 that it doesn't sign a contract with?

4 MR. DONAHUE: Object to the form.

5 THE WITNESS: Will American General do business
6 with an agent that it -- that American General hasn't
7 signed? American General will execute the contracts.
8 BY MR. MILLIAN:

9 Q. Okay. And on page 1 of Exhibit B, can you tell
10 me where American General executed this contract?
11 A. Yeah, I don't see the signature on there.
12 Q. Now, you said sometimes -- I don't want to use

13 your words. Are there times where the entire contract,
14 including the terms and conditions, are scanned into the
15 system versus times where just the cover page is scanned
16 into the system?

17 A. It is possible, just different processes over
18 the years.

19 Q. So it was a yearly thing or a person thing that
20 would decide whether it was -- the whole terms and

21 conditions with the agency agreement or just the agency
22 agreement was scanned?

23 A. It would have been more procedure, not person.
24 It would have -- not necessarily yearly. If you had one

25 group that was doing it, they may have done it a certain

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1 way, and then two years later the work was migrated to a
2 different unit and they did things a different way.
3 Q. What's the procedure today?

4 A. The procedure today, I believe, is the signature
5 page is scanned in and then the hard copies of the

6 contracts are kept separately and they are referred, you
7 know, by form number.

8 Q. So American General, I know you said that's not
9 entirely paperless. So you have paper files at American
10 General as well?
11 A. Well, they're electronic, so when I -- these --
12 these contracts are electronic. You print them off.

13 They're PDF forms.

14 Q. Okay. You're in contracting now, correct?
15 A. Yes.
16 Q. Are you in charge of signing up agents to sell

17 American General products?

18 A. I wouldn't say signing up. I'm responsible for

19 the administration of processing the contracting paperwork
20 when it comes in.

21 Q. What paperwork do you receive from an agent when
22 they want to apply to sell American General products

23 currently?

24 A. Agents have to be recruited so they have to have

25 an IMO or an agency who fills out the paperwork and says,

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